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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION



U.S. NAVY SEALs 1-26;

U.S. NAVY SPECIAL WARFARE
COMBATANT CRAFT CREWMEN 1-5;

U.S. NAVY EXPLOSIVE ORDNANCE
DISPOSAL TECHNICIAN 1; and

U.S. NAVY DIVERS 1-3,

                       Plaintiffs,
                                                       Case No. 4:21-cv-01236-O
         v.

JOSEPH R. BIDEN, JR., in his official
capacity as President of the United States of
America; LLOYD J. AUSTIN, III,
individually and in his official capacity as
United States Secretary of Defense; UNITED
STATES DEPARTMENT OF DEFENSE;
CARLOS DEL TORO, individually and in
his official capacity as United States Secretary
of the Navy,

                       Defendants.

         AMICUS BRIEF OF NINE U.S. SENATORS AND THIRTY-EIGHT
    U.S. REPRESENTATIVES IN SUPPORT OF PLAINTIFFS’ MOTION FOR A
                      PRELIMINARY INJUNCTION




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TO THE HONORABLE REED O’CONNOR, UNITED STATES DISTRICT JUDGE:

                      STATEMENT OF INTEREST OF AMICI CURIAE

        Amici are United States Senators and Members of the United States House of

Representatives. Amici from the U.S. Senate include: Sen. Ted Cruz (TX); Sen. Rick Scott (FL);

Sen. Mike Lee (UT); Sen. James M. Inhofe (OK); Sen. James Lankford (OK); Sen. Steve Daines

(MT); Sen. Roger F. Wicker (MS); Sen. Mike Braun (IN); and Sen. Roger Marshall (KS). Amici

from the U.S. House of Representative include: Rep. Mike Johnson (LA-04); Rick Allen (GA-

12); Rep. Brian Babin, D.D.S. (TX-36); Rep. Jack Bergman (MI-01); Rep. Andy Biggs (AZ-05);

Rep. Dan Bishop (NC-09); Rep. Lauren Boebert (CO-03); Rep. Mo Brooks (AL-05); Rep. Kat

Cammack (FL-03); Rep. Andrew Clyde (GA-09); Rep. Warren Davidson (OH-08); Rep. Rodney

Davis (IL-13); Rep. Jeff Duncan (SC-03); Rep. Bob Gibbs (OH-07); Rep. Louie Gohmert (TX-

01); Rep. Bob Good (VA-05); Rep. Paul Gosar, D.D.S. (AZ-04); Rep. Michael Guest (MS-03);

Rep. Andy Harris, M.D. (MD-01); Rep. Vicky Hartzler (MO-04); Rep. Jody Hice (GA-10); Rep.

Clay Higgins (LA-03); Rep. Darrell Issa (CA-50); Rep. Ronny L. Jackson (TX-13); Rep. Doug

LaMalfa (CA-01); Rep. Doug Lamborn (CO-05); Rep. Billy Long (MO-07); Rep. Thomas Massie

(KY-04); Rep. Brian Mast (FL-18); Rep. Mary Miller (IL-15); Rep. Gregory F. Murphy, M.D.

(NC-03); Rep. Ralph Norman (SC-05); Rep. Scott Perry (PA-10); Rep. Matthew Rosendale, Sr.

(MT-at-large); Rep. Chip Roy (TX-21); Rep. W. Gregory Steube (FL-17); Rep. Randy Weber

(TX-29); and Rep. Daniel Webster (FL-11).

        As members of Congress, amici have a strong interest in ensuring laws enacted by

Congress—including, as relevant here, the Religious Freedom Restoration Act (“RFRA”)—are

interpreted in a manner that is consistent with their text and history to fully protect religious liberty.

Amici likewise have a strong interest in ensuring that the First Amendment, which is RFRA’s


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constitutional backdrop, is enforced with vigor. Finally, amici have sworn to support and defend

the Constitution of the United States against all enemies, foreign and domestic. This requires amici

to ensure that America’s military is in a position to fully and robustly defend our national security.

Amici thus have a unique interest in the Department of Defense (“DOD”) complying with RFRA

and the Constitution in a manner that protects religious liberty rights while ensuring the

effectiveness and readiness of the United States military.


                               STATEMENT OF AMICI CURIAE

        No right is more precious than the right to religious liberty. That is why the very first clause

of the very First Amendment explicitly states that “Congress shall make no law . . . prohibiting the

free exercise” of religion. This amendment, case law, and Congress’s decision to pass the Religious

Freedom Restoration Act (“RFRA”) all testify to the fact that, without entrenched, generally

applicable, and judicially enforceable protections for religious liberty, lawmakers and government

bureaucrats are susceptible to override sincere religious beliefs in favor of what they perceive to

be the greater good.1

        That is what is happening with Defendants’ vaccine mandate. Plaintiffs’ religious liberty

and the government’s asserted interest in protecting our service members from COVID-19 need

not be in conflict, especially where, as here, the individuals seeking an exemption are willing to

adopt non-vaccination measures to protect themselves and others from the spread of COVID-19.

They are only in conflict here because Defendants refuse to accommodate Plaintiffs’ religious



1
  See Religious Freedom Restoration Act of 1991: Hearings before the Subcomm. on Civil & Constitutional
Rights of the H. Comm. on the Judiciary, 102d Cong. 340-341 (1993) (statement of Douglas Laycock,
Professor of Law, University of Texas) (“No government bureaucrat admits that he is against religious
liberty, but almost every government bureaucrat thinks his own program is so important that no religious
exception can be tolerated.”).

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objections even as they accommodate those who will not receive the vaccine for non-religious

reasons. This violates RFRA by substantially burdening Plaintiffs’ religious beliefs without a

compelling reason, and violates the First Amendment’s guarantee that government not

discriminate against religion.

       This Court should enforce RFRA and the First Amendment’s promise of the free exercise

of religion by issuing a preliminary injunction to prevent Defendants from forcing servicemen and

women to receive a vaccine against their sincerely held religious beliefs.


                                            ARGUMENT

       1. Congress passed RFRA for exactly this type of situation where the Federal government

exercises its power to substantially burden the free exercise of religion. Prior to 1990, the Supreme

Court held that “a law that imposes a substantial burden on the exercise of religion must be

narrowly tailored to serve a compelling interest.” Fulton v. City of Philadelphia, 141 S. Ct. 1868,

1890 (2021) (Alito, J., concurring). This standard articulated in Sherbert v. Verner, 374 U.S. 398

(1963), robustly protected religious liberty against infringement—including against infringement

by laws that advanced strong government interests. In Wisconsin v. Yoder, for example, the Court

applied this test to hold that a law requiring children to remain in school until the age of 16 violated

the free-exercise rights of Amish parents. 406. U.S. 205, 234-36 (1972). Indeed, this standard was

sufficiently strong to protect religious liberty even when the exercise of that liberty was could

affect national defense. See Thomas v. Review Bd. of Ind. Employ. Sec. Div., 450 U.S. 707, 709,

719 (1981) (holding unconstitutional a “State’s denial of unemployment compensation benefits to

. . . a Jehovah’s Witness who terminated his job because his religious beliefs forbade participation

in the production of armaments”).



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       After the Supreme Court in Employment Division v. Smith discarded the Sherbert test and

instead held that the Free Exercise Clause tolerates infringements on religious liberty so long as

the infringing law or policy is neutral and generally applicable, 494 U.S. 872, 885 (1990), Congress

swiftly enacted RFRA to return to the American people their fundamental religious liberty

protections. As the Supreme Court explained in Hobby Lobby, “Congress enacted RFRA in 1993

in order to provide very broad protection for religious liberty.” Burwell v. Hobby Lobby Stores,

Inc., 573 U.S. 682, 693 (2014) (emphasis added). Congress explicitly stated that RFRA’s purpose

was not only to “restore the compelling interest test” from Sherbert and Yoder, but “to guarantee

its application in all cases where free exercise of religion is substantially burdened.” 42 U.S.C.

§2000bb(b)(1) (emphasis added). And it clearly codified that standard in legislative text:

Government may substantially burden a person's exercise of religion only if it demonstrates that

application of the burden to the person . . . (1) is in furtherance of a compelling governmental

interest; and (2) is the least restrictive means of furthering that compelling governmental interest.”

42 U.S.C. § 2000bb-1(b).

       This decision to subject laws infringing on religious liberty to the strictest scrutiny was

overwhelmingly bipartisan. As the sponsor of an early version of RFRA stated, RFRA was

produced by an “extraordinary ecumenical coalition in the Congress of liberals and conservatives,

Republicans and Democrats, Northerners and Southerners, and in the country as a whole, a very

broad coalition of groups that have traditionally defended . . . the various religious faiths . . . as

well as those who champion the cause of civil liberties.” Religious Freedom Restoration Act of

1990: Hearing before the Subcomm. on Civil & Constitutional Rights of the H. Comm. on the

Judiciary, 101st Cong. 13 (1991) (statement of Rep. Solarz, chief sponsor of H.R. 5377). This




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bipartisanship was evident in the fact that the bill passed out of the House by voice vote and passed

the Senate with 97 votes in favor and only 3 in opposition. H.R. Res.1308, 103rd Cong. (1993).

       Defendants’ policies mandating that Plaintiffs be vaccinated in violation of their sincerely

held religious beliefs does not come close to satisfying the strictest scrutiny Congress demands in

RFRA. Defendants’ vaccine mandate forces Plaintiffs—individuals who have devoted their lives

to the protection of the country—to choose between following their sincerely held religious

convictions and effectively being discharged, losing their calling, and destroying their financial

well-being. See Hobby Lobby, 573 U.S. at 720 (holding that a mandate substantially burdened the

exercise of religion where the exercise of religion would result in “severe” “economic

consequences”); see also Sherbert, 374 U.S. at 404 (substantial burden where a law forces a choice

“between following the precepts of [one’s] religion and forfeiting benefits” or between

“abandoning one of the precepts of [one’s] religion in order to accept work”).

       Defendants force this choice even though there is no compelling interest in requiring these

specific Plaintiffs to receive the vaccine. The development of the COVID-19 vaccine was a

significant and important step in combatting the spread of COVID-19, and the voluntary and

widespread vaccination of our men and women in uniform helps protect them and their families.

The Navy, however, has already admitted that not every single person must be vaccinated, because

it exempted from the vaccine mandate individuals with medical issues as well as individuals who

took a placebo vaccine as part of medical trials. Since accommodations can be made for these

individuals, there is no compelling interest in forcing Plaintiffs and other individuals with sincere

religious objections to violate their core beliefs by receiving the vaccine.

       Even if there were a compelling interest in demanding vaccinations for religious

individuals while allowing exemptions for secular individuals as part of a COVID-19 risk


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mitigation strategy—and, to be sure, there is not—vaccinations are not the only way to mitigate

COVID-19 risk. Plaintiffs here have all agreed to take other, non-vaccination steps to stop the

spread of the disease in lieu of vaccination, as, presumably, would all service members seeking

religious accommodation—mitigation strategies that worked for more than a year prior to

vaccinations becoming widely available. The question, then, is simply whether the government

should have to adopt a different but similarly effective COVID-19 mitigation strategy with regard

to these Plaintiffs if doing so will protect their religious liberty. Thankfully, Congress expressly

answered that question in the affirmative in RFRA by prohibiting any substantial infringement on

religious liberty unless it is the “least restrictive” means of furthering the government interest. 42

U.S.C. § 2000bb-1(b) (emphasis added).

        Even if Congress had never passed RFRA to protect religious liberty, Defendants’ mandate

would still be unlawful because it violates the First Amendment. “The Free Exercise Clause

‘protect[s] religious observers against unequal treatment’ and subjects to the strictest scrutiny laws

that target the religious for ‘special disabilities’ based on their ‘religious status.’” Trinity Lutheran

Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012, 2019, (2017) (quoting Church of Lukumi

Babalu Aye, Inc. v. Hialeah, 508 U.S. 520, 533, 542 (1993)).

        2. Religious freedom is fundamental to every American’s liberty, but we have seen in

recent years increasing hostility among elected and appointed government officials towards those

who seek to exercise that freedom. In Masterpiece Cakeshop, for example, the Supreme Court

found that a Colorado commission demonstrated “elements of a clear and impermissible hostility

toward the sincere religious beliefs that motivated [an individual’s] objection” to a state law.

Masterpiece Cakeshop, Ltd. v. Colo. Civ. Rts. Comm'n, 138 S. Ct. 1719, 1729 (2018). In Fulton,

the Court held that Philadelphia violated the First Amendment by seeking to enforce a policy that


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discriminated against Catholic Social Services. Fulton, 141 S. Ct. at 1882. And earlier this year,

the Supreme Court enjoined a California law ostensibly aimed to mitigate the spread of COVID-

19 because it impermissibly “treat[ed] some comparable secular activities more favorably than at-

home religious exercise.” Tandon v. Newsom, No. 20A151, slip op. at 3 (U.S. Apr. 9, 2021).

       That same hostility to religion is on display with Defendants’ mandate. Defendants could

easily accommodate Plaintiffs and similarly situated religious individuals given that Defendants

are already accommodating individuals with medical issues or who received placebos in clinical

trials. They have simply chosen not to do so. But as the Supreme Court has made clear: “[W]here

the State has in place a system of individual exemptions, it may not refuse to extend that system

to cases of religious hardship without a compelling reason.” Fulton, 141 S. Ct. at 1877 (quoting

Smith, 494 U.S. at 884). Defendants’ position that a vaccine exemption combined with non-

invasive precautions are sufficient for secularly exempt individuals, but insufficient for service

men and women who simply seek to adhere to their sincerely held religious beliefs, is

discriminatory and a straight-forward violation of the First Amendment.

       The government has suggested that, because over 3,000 servicepersons have requested

religious accommodations, that somehow absolves them of the need to make religious exemptions.

But it would be perverse to establish a rule whereby the greater the number of religious persons,

the less secure their religious freedom. As Justice Gorsuch recently explained in a dissent from the

Supreme Court’s denial of an application for emergency injunctive relief, the “general applicability

test doesn’t turn on . . . a numbers game.” Dr. A. v. Hochul, No. 21A145, slip op. at 9 (U.S. Dec.

13, 2021) (Gorsuch, J., dissenting). “Laws operate on individuals; rights belong to individuals.

And the relevant question here involves a one-to-one comparison between the individual seeking

a religious exemption and one benefiting from a secular exemption.” Id.


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       3. There is no reason why this court should shirk from its duty “to say what the law is” just

because this case involves military readiness. Marbury v. Madison, 5 U.S. 137, 177 (1803).

Defendants insist that an injunction would interfere with military functions and “intrude into the

management of the military,” Defs’ Opp. at 11. But while some amount of deference may be owed

to military leaders when analyzing the government’s interests in First Amendment and RFRA

claims, courts do not abandon their duties whenever it is the military rather than some other arm

of government invading religious liberty rights. See, e.g., Singh v. McHugh, 185 F. Supp. 3d 201,

219 (D.D.C. 2016) (holding that the Army’s refusal to grant a Sikh student a requested religious

exemption violated RFRA); see also Holt v. Hobbs, 574 U.S. 352, 358 (2015) (applying RFRA in

the sensitive context of prisons).

       Indeed, the impact on the military and our national security strongly counsels in favor of

granting a preliminary injunction. The mandate is sidelining the deployment of soldiers on whose

service our country relies. If this mandate (as currently being applied or threatened) is not enjoined,

these Plaintiffs cannot fulfill their pledge to serve and defend our country, even though, based

upon their training and experience, these Plaintiffs, as well as others similarly situated, are some

of our most qualified, equipped, and fearless service members. Our men and women in uniform

have fought to protect the freedoms that every American, regardless of belief, enjoys. Now they

ask this Court to protect their religious freedom from encroachment by the very government they

have sworn to protect with their lives.

       If Defendants’ mandate is allowed to stand without realistically obtainable religious

exemptions for our servicemen and women, it could create significant consequences for our

military’s future readiness. Every year, young men and women of faith across this country bravely

choose to join our nation’s fighting forces. They do so believing that they may simultaneously


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serve their country and their God. This mandate, however, sends a strong signal to these young

men and women that they must choose between their faith and their desire to protect America

because the military will not reasonably accommodate their sincerely held religious beliefs. If the

mandate stands, it is likely, then, that it will be more difficult for our military to recruit highly

qualified individuals of faith to serve our country—a consequence that is wholly unnecessary,

damaging to our military’s morale, and damaging to our national security.


                                         CONCLUSION

       Amici respectfully urge this Court to enforce RFRA, enforce the First Amendment’s

guarantee of the free exercise of religion, and protect our armed service members by granting

Plaintiffs’ motion for a preliminary injunction.

December 17, 2021                             Respectfully submitted,

                                              /s/ Thomas S. Brandon, Jr.
                                              Thomas S. Brandon, Jr.
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                                              THIRTY-EIGHT U.S. REPRESENTATIVES




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                                   CERTIFICATE OF SERVICE


       This is to certify that a true and correct copy of the foregoing was served, pursuant to the Federal
Rules of Civil Procedure, on all counsel of record appearing herein via ECF on this the 17th day of
December, 2021 by the filing of this pleading with the Clerk of Court for the U.S. District Court for
the Northern District of Texas using the Court’s ECF system.


                                                 /s/ Thomas S. Brandon, Jr.
                                                 Thomas S. Brandon, Jr.




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